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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION



UNITED STATES OF AMERICA                  §
                                          §
V.                                        §          NO. 1:07-CR-211
                                          §
CHRISTOPHER JOYCE LADAY                   §


     FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
            BEFORE UNITED STATES MAGISTRATE JUDGE


       Pursuant to 28 U.S.C. § 636(b), this matter was referred to the undersigned

United States Magistrate Judge to receive defendant’s guilty plea.

       On January 14, 2008, defendant, defendant’s counsel, and the government

came before the court for guilty plea and allocution on Count I of the Indictment

filed herein, charging a violation of 21 U.S.C. § 841(a)(1). After conducting

proceedings in the form and manner prescribed by Rule 11 of the Federal Rules of

Criminal Procedure, the undersigned finds:

       (1)    Defendant, after consultation with counsel of record, knowingly and

voluntarily consents to pleading guilty before a United States magistrate judge,

subject to final approval and imposition of sentence by the district judge to whom

this case is assigned.
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       (2)   Defendant is fully competent and capable of entering an informed plea,

is aware of the nature of the charges and the consequences of the plea, and the plea

of guilty is a knowing and voluntary plea supported by an independent basis in fact

containing each of the essential elements of the offense.

       (3)   Defendant’s plea is made pursuant to a plea agreement, a copy of which

was produced for inspection and filed in the record. The plea agreement is of the

type specified in FED . R. CRIM . P. 11 (c)(1)(A) and (B), in that the government agrees

(1) to not bring, or move to dismiss, other charges and (2) that a particular provision

of the Sentencing Guidelines, policy statement, or sentencing factor does or does not

apply (such a recommendation or request does not bind the court).

       (4)   Defendant was advised that the court would defer its decision as to

acceptance or rejection of the plea agreement until there has been an opportunity to

consider the presentence report.

       (5)   Defendant was further advised that if the court chooses not to follow

the plea agreement’s stipulations regarding appropriate sentencing factors, defendant

will have no right to withdraw the plea.

       (6)    Defendant was further advised that if the court accepts that part of the

plea agreement provision wherein the United States agrees to dismiss or not bring

other charges, such agreed disposition will be included in the judgment. Defendant

was further advised that if the court rejects that provision, the court will give

defendant an opportunity to withdraw the plea of guilty. Defendant was further


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advised that if defendant were to then choose not to withdraw the plea of guilty, the

court may dispose of the case less favorably toward the defendant than the plea

agreement contemplated.


                                RECOMMENDATION


      Defendant’s guilty plea should be conditionally accepted. The court should

defer its decision as to acceptance or rejection of the plea agreement until it has an

opportunity to consider the presentence report. If the court ultimately decides to

accept the plea agreement, defendant should be adjudged guilty of the offense to

which he has pleaded guilty.1


                   15 day of January, 2008.
      SIGNED this _____




                                         __________________________________________
                                         Earl S. Hines
                                         United States Magistrate Judge




      1
            28 U.S.C. § 636 normally gives parties ten days to object to
recommendations submitted by a magistrate judge. However, as this recommendation
is agreed, the court need not wait ten days before adopting such recommendation.
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